
697 N.W.2d 527 (2005)
472 Mich. 909-924
PEOPLE
v.
MILESKI.
No. 127457.
Supreme Court of Michigan.
June 17, 2005.
SC: 127457. COA: 248038.
On order of the Court, the application for leave to appeal the November 4, 2004 judgment of the Court of Appeals is considered, and it is GRANTED. The parties are directed to include among the issues to be briefed: (1) whether each of the victim's hearsay statements was "testimonial" in nature and thus inadmissible under the rule of Crawford v. Washington, 541 U.S. 36, 124 S.Ct. 1354, 158 L.Ed.2d 177 (2004); (2) if so, whether Crawford should be applied retroactively; (3) if any of the statements are nontestimonial under Crawford, whether they were admissible as excited utterances pursuant to MRE 803(2); and (4) if any of the statements are testimonial under Crawford, whether their admission was harmless beyond a reasonable doubt.
We ORDER that this case be argued and submitted to the Court together with the case of People v. Walker (Docket No. 128515), at such future session of the Court as both cases are ready for submission.
The Criminal Defense Attorneys of Michigan and the Prosecuting Attorneys Association of Michigan are invited to file briefs amicus curiae. Other persons or groups interested in the determination of the questions presented in this case may move the Court for permission to file briefs amicus curiae.
